













NUMBER 13-07-313-CV



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG


__________________________________________                                   


ROBERT SCHOENMAKERS, ET AL.,	Appellants,


v.



SPARKMAN WELL SERVICE, INC., ET AL.,	Appellees.

____________________________________________________________


On appeal from the 135th District Court


of Refugio County, Texas.


____________________________________________________________


MEMORANDUM OPINION



Before Justices Rodriguez, Garza, and Vela


Memorandum Opinion Per Curiam



	Appellants, ROBERT SCHOENMAKERS, ET AL., perfected an appeal from a
judgment entered by the 135th District Court of Refugio County, Texas, in cause
number 2004-6-9846.  No clerk's record has been filed due to appellants' failure to
pay or make arrangements to pay the clerk's fee for preparing the clerk's record.  

	If the trial court clerk fails to file the clerk's record because the appellant failed
to pay or make arrangements to pay the clerk's fee for preparing the clerk's record,
the appellate court may dismiss the appeal for want of prosecution unless the
appellant was entitled to proceed without payment of costs.  Tex. R. App. P. 37.3(b).

	On August 14, 2007, notice was given to all parties that this appeal was subject
to dismissal pursuant to Tex. R. App. P. 37.3(b).  Appellants were given ten days to
explain why the cause should not be dismissed.  To date, no response has been
received from appellants. 

	The Court, having examined and fully considered the documents on file,
appellants' failure to pay or make arrangements to pay the clerk's fee for preparing
the clerk's record,  this Court's notice, and appellants' failure to respond, is of the
opinion that the appeal should be dismissed for want of prosecution. The appeal is
hereby DISMISSED FOR WANT OF PROSECUTION.

							PER CURIAM


Memorandum Opinion delivered and 

filed this the 4th day of October, 2007.




